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               EXHIBIT 2
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWSVILLE DIVISION

STATE OF TEXAS, et al.,                            )
                                                   )
              Plaintiffs,                          )
                                                   )
        v.                                         )       Case No. 1:18-CV-68
                                                   )
UNITED STATES OF AMERICA, et at.,                  )
                                                   )
              Defendants,                          )
                                                   )
and                                                )
                                                   )
KARLA PEREZ, et al.,                               )
                                                   )
              Defendant-Intervenors,               )
                                                   )
and                                                )
                                                   )
STATE OF NEW JERSEY,                               )
                                                   )
              Defendant-Intervenor.                )


           FEDERAL DEFENDANTS’ OBJECTIONS AND RESPONSES TO
       DEFENDANT-INTERVENORS’ FOURTH SET OF DISCOVERY REQUESTS

TO: Defendant-Intervenors, by and through their attorneys of record, Nina Perales, Celina
Moreno, Jack Salmon, Alejandra Avila, Mexican American Legal Defense and Educational
Fund, 110 Broadway, Suite 300, San Antonio, Texas 78205; Carlos Moctezuma García, García
& García, Attorneys at Law P.L.L.C., P.O. Box 4545 McAllen, Texas 78502.

        Federal Defendants serve these objections and responses to Defendant-Intervenors’
fourth set of interrogatories pursuant to the Federal Rules of Civil Procedure.

                                 GENERAL OBJECTIONS

        Federal Defendants state the following General Objections to Defendant-Intervenors’
fourth set of interrogatories, which are hereby incorporated in and made part of each of the
following specific responses.
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1. Federal Defendants object to Defendant-Intervenors’ fourth set of interrogatories to the extent
that they are unduly burdensome, are overly broad, or seek information that is not relevant to this
phase of this case and will not lead to the discovery of such relevant information.

2. Federal Defendants object to Defendant-Intervenors’ fourth set of interrogatories to the extent
that they are beyond the scope of the claims in this case or they are not relevant to any party’s
claim or defense. Federal Defendants further object to these interrogatories to the extent that they
are not proportional to the needs of the case, considering the importance of the issues at stake in
the action, the amount in controversy, the parties’ relative access to the relevant information, the
parties’ resources, the importance of the discovery in resolving the issues, and whether the
burden or expense of the proposed discovery outweighs its likely benefit.

3. Federal Defendants object to Defendant-Intervenors’ “Definitions and Instructions” to the
extent that they are vague and ambiguous, and therefore may lead to differing interpretations
among the parties to this litigation as well as the Court, resulting in confusion.

4. Federal Defendants object to Defendant-Intervenors’ fourth set of interrogatories to the extent
that they require discovery outside of a properly designated administrative record by the
Department of Homeland Security (DHS), insofar as this action may be construed as a suit for
judicial review of agency action under the Administrative Procedure Act (“APA”), 5 U.S.C.
§ 701 et seq.

5. Federal Defendants object to Defendant-Intervenors’ fourth set of interrogatories to the extent
they purport to require the disclosure of information in the possession, custody or control of
entities other than properly named Defendants on the grounds that such discovery is beyond the
scope of Fed. R. Civ. P. 33 and other applicable law.

6. Federal Defendants object to Defendant-Intervenors’ fourth set of interrogatories to the extent
that they exceed the limit of 25 interrogatories, including all subparts, allowed under Fed.
R. Civ. P. 33, without stipulation or leave from the court. Defendant-Intervenors have clearly
promulgated more than twenty-five interrogatories throughout the course of this litigation.

7. Federal Defendants’ responses to Defendant-Intervenors’ fourth set of interrogatories are
made without waiving:

       (a) The right to object to the competence, relevance, materiality, or admissibility as
evidence of any information, or the subject matter thereof, in any aspect of this civil action or
any other matter;

       (b) The right to object at any time and upon any grounds to any other discovery requests;

         (c) The right at any time and for any reason to revise, supplement, correct, add or to
clarify these responses;

       (d) The right to amend or supplement these responses if the Federal Defendants discover
additional information; and
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       (e) Any applicable privilege, including but not limited to the attorney/client privilege, the
law enforcement privilege, the investigation files privilege, executive privilege, and the official
information privilege.

8. Federal Defendants’ responses to Defendant-Intervenors’ fourth set of interrogatories are
based upon the information available at this stage of the litigation. Federal Defendants reserve
the right to rely upon any facts, documents, or other evidence which may develop or come to its
attention subsequent to this response.

        Likewise, Federal Defendants’ objections to Defendant-Intervenors’ fourth set of
interrogatories are based upon the information presently known by the Federal Defendants, and
are made without prejudice to the Federal Defendants’ right to assert additional objections in the
event that additional grounds for objections should be discovered by the Federal Defendants
subsequent to this response.

10. Without waiving the above objections, Federal Defendants will provide responses to only
relevant non-privileged matters based on information currently available to it and obtainable
without undue burden.

11. Federal Defendants are also not responding to Interrogatories 17 and 18 because Perez
Defendant-Intervenors have agreed to withdraw those interrogatories. See ECF No. 416.

                SPECIFIC OBJECTIONS AND RESPONSES TO
        DEFENDANT-INTERVENORS’ FOURTH SET OF INTERROGATORIES

INTERROGATORY NO. 15:

       Please identify the total number of initial DACA requests accompanied by requests for
work authorization, and, from among that number, identify the number of work authorization
requests that were denied and identify the number of work authorization requests that were
withdrawn by the requestor.

OBJECTIONS TO INTERROGATORY NO. 15:

Federal Defendants specifically object to Interrogatory No. 15 on the grounds that it is overly
burdensome, not relevant, and disproportional to the needs of the case. See Fed. R. Civ. P.
26(b)(1) (“Parties may obtain discovery regarding any non-privileged matter that is relevant to
any party’s claim or defense and proportional to the needs of the case . . .”); Cazorla v. Koch
Foods of Mississippi, L.L.C., 838 F.3d 540, 554 n.42 (5th Cir. 2016) (stating “the scope of
discovery depends in part on ‘whether the burden or expense of the proposed discovery
outweighs its likely benefit’” (quoting Fed. R. Civ. P. 26(b)(1))).

The Court is currently considering a fully briefed motion for summary judgment addressing
Plaintiffs’ substantive and procedural Administrative Procedure Act (APA) claims and their
Take Care Clause claim. See ECF No. 356. Information on work authorization requests by initial
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DACA requestors is irrelevant to any of these claims. Every DACA requestor must file an I-765
(a “work authorization request”), with all applicable fees, and Form I-765WS along with their
DACA –based request for a two-year period of deferred action, otherwise their entire submission
will be rejected.. While it is possible that after one’s submission has been accepted a DACA
request (I-821D) could subsequently be approved and an I-765 denied if, for example, the
requestor failed to show economic need, any instances of this would be rare. Similarly, it would
unusual for a requestor to request withdrawal of his or her own I-765. The numbers of such
denials for I-765s for approved DACA recipients, or of DACA requestors who may have asked
to withdraw their I-765 at some point during the adjudication process, are not relevant to any of
Defendant-Intervenors’ claims or Plaintiffs’ substantive and procedural APA claims or Take
Care Clause claim. Additionally, Defendant-Intervenors’ have not limited this interrogatory to
DACA requestors from Plaintiff states, making it geographically overbroad and further irrelevant
to the current litigation.

Because the Court can resolve this case based on the motion for summary judgment currently
before it and the record as it exists now, and the information sought is overbroad and irrelevant
to any claim within the motion, the request is disproportionate to the needs of the case as it
stands now. See Landry v. Air Line Pilots Ass'n Int'l AFL-CIO, 901 F.2d 404, 435 (5th Cir.
1990), opinion modified on denial of reh'g (Apr. 27, 1990) (upholding district court’s stay of
depositions until after determinations of summary judgment motions that did not require
discovery); cf. Guajardo v. Martinez, No. 2:14-CV-450, 2015 WL 12831683, at *2 (S.D. Tex.
Dec. 22, 2015) (staying discovery before Court ruled on motion to dismiss as it would be
otherwise unduly burdensome and expensive). Indeed, the Court’s July 26, 2019 order envisions
no additional discovery beyond that ordered at the hearing on July 24, 2019 until after it rules on
Plaintiff-States’ motion for summary judgment. See ECF No. 412 (“If the Court ultimately
denies Plaintiff-States’ Motion for Summary Judgment [Doc. No. 356], the Court will at that
time entertain a request to re-open discovery, should any party so request and show good
cause.”).

INTERROGATORY NO. 16:

        Please identify the total number of renewal DACA requests accompanied by requests for
work authorization, and, from among that number, identify the number of work authorization
requests that were denied and identify the number of work authorization requests that were
withdrawn by the requestor.

OBJECTIONS TO INTERROGATORY NO. 16:

Federal Defendants specifically object to Interrogatory No. 16 on the grounds that it is not
proportional to the needs of the case given it requests information which is not relevant to any
claims and the pending motions for summary judgment before the court.

Federal Defendants further object to Interrogatory No. 16 on the grounds that it is overly
burdensome, not relevant, and disproportional to the needs of the case. See Fed. R. Civ. P.
26(b)(1) (“Parties may obtain discovery regarding any non-privileged matter that is relevant to
any party’s claim or defense and proportional to the needs of the case . . .”); Cazorla v. Koch
Foods of Mississippi, L.L.C., 838 F.3d 540, 554 n.42 (5th Cir. 2016) (stating “the scope of
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discovery depends in part on ‘whether the burden or expense of the proposed discovery
outweighs its likely benefit’” (quoting Fed. R. Civ. P. 26(b)(1))).

The Court is currently considering a fully briefed motion for summary judgment addressing
Plaintiffs’ substantive and procedural APA claims and their Take Care Clause claim. See ECF
No. 356. Information on work authorization requests by DACA renewal requestors is not
relevant to any of these claims. Every DACA renewal requestor must file an I-765 (a “work
authorization request”), with all applicable fees, and Form I-765WS along with their DACA-
based request for an additional two-year period of deferred action , otherwise their entire
submission will be rejected. While it is possible that after one’s submission has been accepted a
DACA renewal request (I-821D) could subsequently be approved and an I-765 denied if, for
example, the requestor failed to show economic need, any instances of this would be rare.
Similarly, it would be unusual for a renewal requestor to request withdrawal of his or her own I-
765. The numbers of such denials for I-765s for approved DACA renewal recipients, or of
DACA renewal requestors who may have asked to withdraw their I-765 at some point during the
adjudication process, are not relevant to any of Defendant-Intervenors’ claims or Plaintiffs’
substantive and procedural APA claims or Take Care Clause claim. Additionally, Defendant-
Intervenors’ have not limited this interrogatory to DACA renewal requestors from Plaintiff
states, making it geographically overbroad and further irrelevant to the current litigation.

Because the Court can resolve this case based on the motion for summary judgment currently
before it and the record as it exists now, and the information sought is overbroad and irrelevant
to any claim within the motion, the request is disproportionate to the needs of the case as it
stands now. See Landry v. Air Line Pilots Ass'n Int'l AFL-CIO, 901 F.2d 404, 435 (5th Cir.
1990), opinion modified on denial of reh'g (Apr. 27, 1990) (upholding district court’s stay of
depositions until after determinations of summary judgment motions that did not require
discovery); cf. Guajardo v. Martinez, No. 2:14-CV-450, 2015 WL 12831683, at *2 (S.D. Tex.
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time entertain a request to re-open discovery, should any part so request and show good cause.”).

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Dated: July 22, 2019               Respectfully submitted,
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